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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                   July 27, 2020
                                                                                David J. Bradley, Clerk

                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

        UNITED STATES OF               §   CIVIL ACTION NO.
        AMERICA, et al., ex rel.,      §   4:18-cv-00123
        HICHEM CHIHI,                  §
                   Plaintiff,          §
                                       §
                                       §
               vs.                     §   JUDGE CHARLES ESKRIDGE
                                       §
                                       §
        CATHOLIC HEALTH                §
        INITIATIVES, et al.,           §
                  Defendants.          §

                                    ORDER

            Pursuant to 28 USC § 636(b)(1)(A) and (B) and the Cost and
       Delay Reduction Plan under the Civil Justice Reform Act, the
       Court REFERS this case to United States Magistrate Judge Sam
       Sheldon. This referral includes, but is not limited to, the proposed
       discovery plan at issue between the parties regarding assertions
       of privilege by the CHI Defendants. Dkt 275.
            The Court ORDERS the parties to advise within twenty days
       of the entry of this order whether they will consent to the
       jurisdiction of the Magistrate Judge for all purposes in this case
       pursuant to 28 USC § 636(c).
            For convenience, please find the form for Consent to Proceed
       Before a Magistrate Judge attached.

              Signed on July 27, 2020 at Houston, Texas.



                                     Hon. Charles Eskridge
                                     United States District Judge
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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

        ___________________,           §    CIVIL ACTION NO.
                   Plaintiff,          §    _________________
                                       §
                                       §
               vs.                     §    JUDGE CHARLES ESKRIDGE
                                       §
                                       §
        ____________________,          §
                   Defendant.          §



                  NOTICE OF THE RIGHT TO PROCEED
             IN A CIVIL CASE BEFORE A MAGISTRATE JUDGE

            With the consent of all parties, a United States Magistrate
       Judge may preside in a civil case, including a jury trial and entry
       of a final judgment.
            The choice to proceed before a Magistrate Judge is entirely
       yours. Tell only the Clerk. Neither the District Judge nor the
       Magistrate Judge will be told unless and until all the parties agree.
            The District Judge to whom your case is assigned must
       approve the referral to a Magistrate Judge.
            You must use the consent form attached to these procedures.
       Complete the form but do not otherwise modify it. The form is
       also available from the Office of the Clerk of Court.
                                        David Bradley, Clerk
                                        United States District Clerk
                                        Southern District of Texas
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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

        ___________________,          §    CIVIL ACTION NO.
                   Plaintiff,         §    _________________
                                      §
                                      §
               vs.                    §    JUDGE CHARLES ESKRIDGE
                                      §
                                      §
        ____________________,         §
                   Defendant.         §


          CONSENT TO PROCEED BEFORE A MAGISTRATE JUDGE

              In accordance with 28 U.S.C. § 636(c), all parties to this
       action waive their right to proceed before a District Judge of this
       Court and consent to have a United States Magistrate Judge
       conduct all further proceedings, including hearings and rulings
       on motions, pretrial conferences and trial, and entry of judgment.
              Counsel for all parties execute this form as follows:
       _____________________ for ______________________

       _____________________ for ______________________
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                           ORDER TO REASSIGN

               It is ORDERED that the Clerk of Court shall reassign this
       action to United States Magistrate Judge Sam Sheldon to conduct
       all further proceedings, including hearings and rulings on
       motions, pretrial conferences and trial, and entry of judgment.


              Signed on ________________, at Houston, Texas.



                                   ________________________
                                   Hon. Charles Eskridge
                                   United States District Judge
